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          September 5, 2012

                 Facts about Voluntary Homeless Feeding Registration Program
                                           City of Houston Clarifies Misinformation

          Is the City of Houston trying to stop homeless food service?
          No! The City of Houston is trying to improve the quality, quantity and distribution of food for
          the homeless through training and coordination.

          Introduction:
          In the spring of 2012, the Houston City Council approved an ordinance establishing a
          voluntary program to coordinate outdoor food service operations for the homeless. The intent
          of the ordinance is threefold:

                  1. to improve the quality, quantity and distribution of food provided outdoors;
                  2. to expand the opportunities for the homeless to connect with service providers;
                  and
                  3. to reduce the disproportionate environmental impact of food service operations
                  on public and private property.

          The program consists of four basic steps:

                  1. Registration of the formal or informal food service organization. Registration
                  includes contact information, proposed schedule, location and proposed food to be
                  served.
                  2. Free food handling training for one or more members of the food service group
                  provided by the Houston Department of Health and Human Services. The training
                  also includes information from the Coalition for the Homeless about working with
                  the homeless and referral information for additional services needed by the
                  homeless.
                  3. The only mandatory step is a requirement to obtain owner consent before using
                  either public or private property for food service of more than six people. This is
                  required for both registered and non-registered food service operations.
                  4. Coordination of location and times of food service to maximize the distribution
                  of food throughout the week.

          The ordinance was the result of months of discussion among various city departments,
          homeless service agencies, law enforcement, homeless food service organizations and private
          property owners and managers.

          To date, program managers at the Houston Department of Health and Human Services report:

                  - 8 approved organizations/individuals (All eight of these groups are using city-
                  owned property for their food service events.)
                  - 11 pending organizations/individuals (awaiting property owner consent)
                  - 18 organizations/individuals have made inquiries but have not submitted the
                  Participation Form

          In addition, Mayor Annise Parker has designated the Central Houston Public Library Plaza, 500
          McKinney, Houston 77002, as an approved charitable food service location for Food Not
          Bombs.

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          Forms, procedures, the ordinance, class schedules and updated registrants can be found at
          https://www.houstontx.gov/health/Charitable/index.html

          Frequently Asked Questions:

          Why does the City of Houston want to register charitable food service of the
          homeless?
          First and foremost, the City of Houston wants to ensure that homeless individuals have
          sufficient wholesome food to meet their needs. Because of the previous lack of coordination,
          too much food was distributed on weekend mornings to certain locations over-serving a group
          of people while no food was available at other times of the day and days of the week.
          Hopefully, enough organizations will register and, through coordination, the city can improve
          the safety and availability of more food for the homeless. In addition to coordination,
          participants in the voluntary registration program commit to manage their litter.

          Why do I need permission to provide food on public property?
          Public property belongs to all of us and it needs to be shared equitably. Large scale or
          recurring activities of all kinds already require permission for use of public property. It is
          unlikely that a food service organization will be denied permission to use public property, but
          it may need to be coordinated with other public activities.

          Do I have to participate in the voluntary program if on private property?
          No. Food service activity conducted on one's own property is not covered by the ordinance.
          There is no penalty for food service operations outside of the voluntary registration program.
          However, all feeders, in or out of the voluntary registration program must obtain permission
          to operate on public or private property.

          Does anyone support this ordinance?
          Participants have been surprised to learn in some cases their food service activities were
          being duplicated and their food was being discarded by the homeless. Organizations attending
          the food service training classes report that they never realized how complicated the problem
          of homelessness was and they are grateful for the training about food and services.
          Participants have also recognized that the opportunities to provide food are not restricted to
          downtown; their services are also needed in other areas of the city and county. Organizations
          that conduct food service inside their facilities appreciate the coordination of volunteers and
          the fact that the volunteers are more informed about referral possibilities. The homeless
          themselves report more confidence in the safety of the food from the registered providers.
          Property managers in some of the hardest affected areas of town report slight improvements
          since the initiation of the program July 1, 2012.

          How do I get permission for use of City of Houston property?
          Contact Carolyn Gray at Carolyn.gray@houstontx.gov or call her at 832.393.5100.




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                                                          Thank you for your interest in CitizensNet.
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